       Case 4:19-cv-00003-SWW Document 12 Filed 05/16/19 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT COURT OF ARKANSAS
                          WESTERN DIVISION

DAREL ADELSBERGER AND
ANNETTE ADELSBERGER                                                   PLAINTIFFS

vs.                           Case No. 4:19CV3‐SWW

UNION PACIFIC RAILROAD COMPANY                                       DEFENDANT




                                  Protective Order


      Before the Court is a Joint Motion for Protective Order. Upon consideration,

the Court finds that the motion should be and hereby is GRANTED. The Court

enters the following Protective Order as proposed by the parties:

      The parties have information to disclose which may require protection due to

its confidential or proprietary nature. Accordingly, the parties agree:

         1. Scope. All documents produced in the course of discovery, including

all responses to discovery requests, all deposition testimony and exhibits, other

materials which may be subject to restrictions on disclosure for good cause and

information derived directly therefrom (hereinafter collectively “documents”),

shall be subject to this Order concerning confidential information as set forth

below.

         2. Form and Timing of Designation. A party may designate documents

as confidential and restricted in disclosure under this Order by placing or

aﬃxing the words “CONFIDENTIAL” on the document in a manner that will not

interfere with the legibility of the document and that will permit complete

removal of the designation. Documents shall be designated CONFIDENTIAL



Protective Order                                                                  1/8
     Case 4:19-cv-00003-SWW Document 12 Filed 05/16/19 Page 2 of 8




prior to or at the time of the production or disclosure of the documents. The

designation “CONFIDENTIAL” does not mean that the document has any status
or protection by statute or otherwise except to the extent and for the purposes of this

Order.

         3. Documents Which May be Designated. Any party may designate

documents as CONFIDENTIAL upon making a determination that the

documents contain information protected from disclosure by statute or that

should be protected from disclosure as confidential personal information,

medical or psychiatric information, trade secrets, personnel records, proprietary,

or such other sensitive commercial information that is not publicly available.
         4. Protection of Confidential Material.

               a. General Protections. Documents designated CONFIDENTIAL

            –under this Order shall not be used or disclosed by the parties, counsel

            for the parties or any other persons identified in Paragraph 4(b) for any

            purpose whatsoever other than to prepare for and to conduct

            discovery and trial in this action, including any appeal thereof.

               b. Limited Third‐Party Disclosures. The parties and counsel for

            the parties shall not disclose or permit the disclosure of any

            CONFIDENTIAL documents to any third person or entity except as set

            forth in subparagraphs (i)–(v). Subject to these requirements, the

            following categories of persons may be allowed to review documents

            that have been designated CONFIDENTIAL:

                     i.   Counsel. Counsel (or the parties and employees and

                   agents of counsel) who have responsibility for the preparation

                   and trial of the action;

                    ii.    Parties. Parties and employees of a party to this Order.




Protective Order                                                                   2/8
    Case 4:19-cv-00003-SWW Document 12 Filed 05/16/19 Page 3 of 8




                   iii.   Court Reporters and Recorders. Court reporters and

                   recorders engaged for depositions;

                   iv.    Consultants, Investigators and Experts. Consultants,

                   investigators, or experts (hereinafter referred to collectively as

                   “experts”) employed by the parties or counsel for the parties to

                   assist in the preparation and trial of this action or proceeding,

                   but only after such persons have completed the certification

                   contained in Attachment A, Acknowledgment of Understanding

                   and Agreement to Be Bound; and

                    v.    Others by Consent. Other persons only by written

                   consent of the producing party or upon order of the Court and

                   on such conditions as may be agreed or ordered. All such
                   persons shall execute the certification contained in Attachment

                   A, Acknowledgment of Understanding and Agreement to Be

                   Bound.

             c. Control of Documents. Counsel for the parties shall take

         reasonable and appropriate measures to prevent unauthorized

         disclosure of documents designated as CONFIDENTIAL pursuant to

         the terms of this Order. Counsel shall maintain the originals of the

         forms signed by persons acknowledging their obligations under this

         Order for a period of 1 year after dismissal of the action, the entry of

         final judgment and/or the conclusion of any appeals arising therefrom.

             d. Copies. Before production to another party, all copies,

         electronic images, duplicates, extracts, summaries or descriptions

         (hereinafter referred to collectively as (“copies”) of documents

         designated as CONFIDENTIAL under this Order, or any individual

         portion of such a document, shall be aﬃxed with the designation


Protective Order                                                                   3/8
    Case 4:19-cv-00003-SWW Document 12 Filed 05/16/19 Page 4 of 8




          “CONFIDENTIAL” if the word does not already appear on the copy.

          All such copies shall thereafter be entitled to the protection of this

          Order. The term “copies” shall not include indices, electronic

          databases or lists of documents provided that these indices, electronic

          databases or lists do not contain substantial portions or images of the

          text of confidential documents or otherwise disclose the substance of

          the confidential information contained in those documents.

             e. Inadvertent Production. Inadvertent production of any

          document or information without a designation of “CONFIDENTIAL”

          shall be governed by the applicable rules of civil procedure, but a party
          may designate such documents as Confidential as soon as it realizes

          the inadvertent disclosure.

       5. Filing of CONFIDENTIAL Documents Under Seal. Before any

document designated as CONFIDENTIAL is filed with the Court, the party

wishing to file the document shall request that the document be filed under seal.

It shall be within the sole discretion of the Court to determine whether said

document may be filed under seal.

             a. Before the filing party requests the Court’s leave to file under

          seal any document marked as CONFIDENTIAL, the filing party shall

          first consult with the party that originally designated the document as

          CONFIDENTIAL to determine whether, with the consent of the

          designating party, the document or a redacted version of the document

          may be filed with the Court not under seal.

       6. Challenges by a Party to Designation as Confidential. Any

CONFIDENTIAL designation is subject to challenge by any party or nonparty

with standing to object (hereafter “party”). Before filing any motions or

objections to a confidentiality designation with the Court, the objecting party


Protective Order                                                                   4/8
     Case 4:19-cv-00003-SWW Document 12 Filed 05/16/19 Page 5 of 8




shall have an obligation to meet and confer in a good faith eﬀort to resolve the

objection by agreement. If agreement is reached confirming or waiving the

CONFIDENTIAL designation as to any documents subject to the objection, the

designating party shall serve on all parties a notice specifying the documents and

the nature of the agreement.

       7. Action by the Court. Applications to the Court for an order relating to

any documents designated CONFIDENTIAL shall be by motion under the

applicable rules of procedure and local rules of the Court and any other

procedures set forth in the presiding judge’s standing orders or other relevant
orders.

       8. Use of Confidential Documents or Information at Trial. All trials are

open to the public. Absent order of the Court, there will be no restrictions on the

use of any document that may be introduced by any party during the trial. If a

party intends to present at trial CONFIDENTIAL documents or information

derived therefrom, such party shall provide advance notice to the other party

identifying the documents or information at issue as specifically as possible (i.e.,

by Bates number, page range, deposition transcript lines, etc.) without divulging

the actual CONFIDENTIAL documents or information. The Court may

thereafter make such orders as are necessary to govern the use of such

documents or information at trial.

       9. Obligations on Conclusion of Litigation.

              a. Order in Eﬀect. Unless otherwise agreed, this Order shall

          remain in force after dismissal or entry of judgment not subject to

          further appeal.

              b. Return of CONFIDENTIAL Documents. Within thirty days

          after dismissal or entry of final judgment not subject to further appeal,

          all documents treated as CONFIDENTIAL under this Order, including


Protective Order                                                                 5/8
    Case 4:19-cv-00003-SWW Document 12 Filed 05/16/19 Page 6 of 8




          copies as defined in Paragraph 4(d), shall be returned to the producing

          party unless: (1) the document has been oﬀered into evidence or filed

          without restriction as to disclosure; or (2) the party in possession of

          such document(s) elects to destroy the documents and certifies to the

          producing party that it has done so. Notwithstanding the above

          requirements to return or destroy documents, counsel may retain

          attorney work product, including an index which refers or relates to

          information designated CONFIDENTIAL, so long as that work

          product does not duplicate verbatim substantial portions of the text or
          images of confidential documents. This work product shall continue to

          be CONFIDENTIAL under this Order. An attorney may use his or her

          work product in a subsequent litigation provided that its use does not

          disclose or use CONFIDENTIAL documents.

      10. Persons Bound. This Order shall take eﬀect when signed by the Court

and shall be binding upon all counsel and their law firms, the parties, and

persons made subject to this Order by its terms.

   SO ORDERED


   May 16, 2019                                  /s/Susan Webber Wright
   Date                                          United States District Judge




Protective Order                                                                    6/8
       Case 4:19-cv-00003-SWW Document 12 Filed 05/16/19 Page 7 of 8




                                Attachment A
                   Acknowledgment and Agreement to be Bound


   The undersigned hereby acknowledges that he/she has read the Protective

Order dated _____________________ in the above‐captioned action and attached

hereto; understands the terms thereof; and agrees to be bound by its terms. The

undersigned submits to the jurisdiction of the Court herein in matters relating to

the Protective Order and understands that the terms of the Protective Order

obligate him/her to use documents designated CONFIDENTIAL in accordance

with the Order solely for the purposes of the above captioned action, and not to

disclose any such documents or information derived directly therefrom to any
other person, firm or concern.

   The undersigned acknowledges that violation of the Protective Order may

result in penalties for contempt of court.

Name:         ______________________________________

Job Title:    ______________________________________

Employer:     ______________________________________

Business Address: ________________________________

                      ________________________________

                      ________________________________




Date                               Signature




Protective Order                                                             7/8
     Case 4:19-cv-00003-SWW Document 12 Filed 05/16/19 Page 8 of 8




Agreed as to form and content:




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Protective Order                                                     8/8
